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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

 SHARLENE JACKSON,                     §
         Plaintiff,                    §
                                       §
 V.                                    §       No. 3:24-CV-1590-N-BW
                                       §
 UNITED STATES POSTAL                  §
 SERVICE, et al.,                      §
            Defendants.                §    Referred to U.S. Magistrate Judge


        ORDER ADOPTING FINDINGS, CONCLUSIONS, AND
   RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

 recommendation in this case. (Dkt. No. 88.) No objections were filed. The District

 Judge reviewed the proposed findings, conclusions, and recommendation for plain

 error. Finding none, the Court ACCEPTS the Findings, Conclusions, and

 Recommendation of the United States Magistrate Judge, DENIES Plaintiff’s motion

 to compel Equal Employment Opportunity Commission action, (Dkt. No. 69).

       SO ORDERED.

       Signed April 18, 2025.

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                                       DAVID C. GODBEY
                                       United States Chief District Judge
